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June 30, 2016


        Re:      Ironclad Performance Wear Corp. v. ORR Safety Corp.
                 Case No. 3:15-CV-3453-D


To the Court and to all parties and their attorneys of record,


        Pursuant to the Court’s June 20, 2016 order (Dkt. 69), Ironclad Performance Wear Corp.
(“Ironclad”) met and conferred with ORR Safety Corp. (“ORR”) on June 27, 2016, regarding
ORR’s motion to compel (Dkt. 66). But the parties were unable to resolve their dispute.
Ironclad therefore submits this letter brief in opposition to ORR’s motion.1
        ORR moves to compel Ironclad to produce the personnel files of eight former Ironclad
employees and one former Ironclad consultant (collectively, the “former employees”).                                 In
bringing its motion, however, ORR disregards the Fifth Circuit’s leading case regarding the
discovery of personnel files, and studiously avoids informing the Court that this case and its
progeny require a heightened showing of relevancy in order to compel the production of such

files and the potentially sensitive information that they contain. Under the correct legal standard,
ORR is not entitled to discover the personnel files it seeks.
                 Personnel Files Require a “Compelling” Showing of Relevancy
        “There is a strong public policy against the disclosure of personnel files.” McDonald v.
EcconMobil Chem. Co., 2001 WL 34109381, at *1 (S.D. Tex. Dec. 7, 2001) (quotations
omitted). Unlike typical custodial files, “[e]mployee personnel files contain much irrelevant but


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  Space limits prevent Ironclad from addressing the various factual misrepresentations in ORR’s motion. For
example, ORR claims that Ironclad admitted that the personnel files contain various references to ORR and KONG
when, in fact, Ironclad stated that the five personnel files it had thus far reviewed only contain a handful of
references to ORR and KONG and that none of those references are relevant to this case.
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sensitive and potentially embarrassing information [about a company’s employees], for example,
alimony and child support garnishment, tax records, and drug test results.” Williams v. Roy O.
Martin Lumber Co. LLC, 51 Fed. Appx. 483, at *6 (5th Cir. 2002). Employees therefore have an
inherent privacy interest in their personnel files, and justifiably expect that such files will be kept
confidential. McDonald, 2001 WL 34109381, at * 1; see also In re Xarelto (Rivaroxaban)
Products Liab. Litig., 313 F.R.D. 32, 37 (E.D. La. 2016) (same).
       Employers also have a significant interest in keeping personnel files confidential because
the “disclosure of personnel files and [the] evaluations [they contain] would discourage the
candid evaluations of employees and thereby hamper the ability of companies to maintain their
standards and improve their performance.” McDonald, 2001 WL 34109381, at *1 (quotations
omitted); see also In re Sunrise Sec. Litig., 130 F.R.D. 560, 580 (E.D. Pa. 1989) (“Strong public
policy exists against disclosure of the personnel records … because … firms might cease to
frankly criticize their own [employees’] performance.” (quotations omitted)).
       Given that employees and employers both have a legitimate interest in maintaining the
confidentiality of their personnel files, the Fifth Circuit has developed a “specific discovery test”
for such files. See In re Xarelto, 313 F.R.D. at 37 (“Personnel files have a specific discovery test
in the Fifth Circuit for a reason: they are special.”). This test was first articulated in Coughlin v.
Lee, 946 F.2d 1152, where the Fifth Circuit concluded that district courts should order disclosure
of personnel files only after balancing the propounding party’s interest in discovery against the
employer and employee’s shared interest in privacy. Coughlin, 946 F.2d at 1160. The Fifth
Circuit specified that, as part of this balancing test, district courts should consider various factors
identified in the case of Frankenhauser v. Rizzo, 59 F.R.D. 339, 344 (E.D. Pa. 1973), including
(1) “whether the information sought is factual data or evaluative summary,” (2) “whether the

information sought is available through other discovery or from other sources,” and (3) “the
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importance of the information sought to the … case.” 59 F.R.D. at 344.; see also Stephens v.
Austin, 2014 WL 3784267, at *3 (W.D. Tex. July 31, 2014) (the “leading case” is Coughlin.”).
       Applying the Coughlin test, “[c]ourts in the Fifth Circuit allowing the disclosure of
personnel records have done so only when the personnel files contained material highly relevant
to the case at hand.” In re Xarelto, 313 F.R.D. at 37. Indeed, production should not be required
“absent a compelling demonstration of relevance.” Clemons v. Dollar Gen. Corp., 2010 WL
1994809, at *5 (N.D. Miss. May 18, 2010) (emphasis added); see also McDonald, 2001 WL
34109381, at *1 (describing personnel files as “a vital part of a plaintiff’s Title VII lawsuit”).
Such a compelling demonstration of relevance must be made with “particularity on a witness-by-
witness basis.” In re Xarelto, 313 F.R.D. at 38. (concluding that the “one-size-fits-all discovery
requests for eight separate categories of documents for all deposed witnesses … is insufficient
under the [Fifth Circuit’s] standard”).
                   ORR Cannot Make a Compelling Showing of Relevancy
       ORR insists that it is entitled to discover Ironclad’s personnel files on various grounds,
but none of them are sufficient under Coughlin.        First, ORR insists that the performance
evaluations contained in the personnel files may shed light on whether and which parties
breached their contractual obligations. (Mot. at 12.) ORR apparently believes that a poor
performance evaluation is relevant to show, for example, that Ironclad “failed to timely deliver
products.” (Mot. at 12.) But Ironclad’s opinions of its own employees are almost entirely
irrelevant to this question, and there are many other much more direct ways to discover facts
relevant to this issue. For example, the timeframe within which Ironclad fulfilled various orders
will necessarily be reflected in Ironclad’s, ORR’s, and its customers’ custodial records. There is
no reason—and certainly no compelling reason—that the private personnel files of former

employees who are not a party to this case should be disclosed based on this question, or any
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other question as to whether the parties breached their agreements (which have nothing to do
with personnel matters). Were it otherwise, any party to any breach of contract case could
compel the production of its opponent’s personnel files on the theory that those files might
contain negative performance evaluations that could be used to bolster its breach of contract
claim. (See Mot. at 13 (arguing “virtually all aspects of job performance evaluations” are
relevant).) This is not the law in the Fifth Circuit.
       Second, ORR claims that the personnel files are relevant because it has alleged that
Ironclad’s supposed “cycling through staff was detrimental to [its] ability to fulfill its obligations
to ORR.” (Mot. at 13-14.) But, as ORR effectively concedes, the personnel files are not relevant
to showing whether Ironclad “cycled through staff.” Rather, they are relevant, at most, to
showing why various personnel changes were made. (Mot. at 14.) Despite ORR’s contentions
(Mot. at 13), the question of why simply is not relevant to ORR’s claims or defenses; breach of
contract, after all, does not have any sort of mens rea element. All that is relevant is whether the
supposed “cycling” occurred and whether changes of staff negatively impacted Ironclad’s
performance. The personnel files are manifestly irrelevant to these questions, and there are many
more direct routes to this information, assuming it is genuinely needed.
       Third, ORR contends that the personnel files, and any reviews, contracts or agreements
they include, are relevant to show potential witness bias. (Mot. at 14 (arguing that the personnel
files are “crucial to assessing the credibility of the witnesses”).) But “the ever-present search for
evidence of witness bias [is] insufficient under Coughlin … to compel the personnel files of
every employee.” In re Xarelto, 313 F.R.D. at *38. “Parties seeking access to personnel files for
impeachment purposes must summon a more particularized argument than a mere allusion to the
use of bias evidence.” Id. Here, ORR broadly claims that it is entitled to take discovery of the

personnel files because they might include evidence that Ironclad’s former employees “may have
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reason to be biased in Ironclad’s favor.” (Mot. at 14.) But the same argument could be advanced
in any case where a party’s former employee will take the stand. “[I]f [such] a broadly-sketched
call for impeachment evidence were sufficient to override privacy interests in personnel files, the
Coughlin standard would be meaningless.” In re Xarelto, 313 F.R.D. at *38, n.3.
         At base, as demonstrated by the case law ORR itself cites, personnel files should be
produced only when they are directly relevant to a specific cause of action. For example, in
employment cases involving claims of harassment, discrimination, or retaliatory discharge. See
E.E.O.C., 2008 WL 4056189 (retaliatory discharge); Jaspen v. Florida Board of Regents, 610
F.2d 1379 (5th Cir. 1980) (Title VII discrimination); McDonald, 2001 WL 34109381 (Title VII
discrimination). Or in cases where the employer’s knowledge is at issue. See Riley v. Walgreen
Co., 233 F.R.D. 496 (S.D. Tex. 2005). This is not one of those cases.
         Finally, ORR suggests that the Court should order the personnel files produced simply
because there is a protective order already in place. (Mot. at 16.) While a protective order may
mitigate privacy concerns, it does not eliminate them. Nor is a protective order a substitute for a
showing of relevancy. The existence or non-existence of a protective order between the parties
has little to do with any former employees’ legitimate expectations of privacy or of an
employer’s expectation that it has the right to engage in candid evaluations of its employees, akin
to a privileged communication. ORR’s motion should be denied given its failure to show, let
alone compelling show, that the personnel files are at all relevant to this case.2

                                                                Respectfully submitted,


                                                                Michael A. Sherman

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  Even if the Court deems the personnel files discoverable, Ironclad’s objection to producing them was made in good
faith and “substantially justified” given the Fifth Circuit’s case law. Fed. R. Civ. Proc. 37(a)(5). Ironclad therefore
respectfully requests that the Court deny ORR’s request for its reasonable expenses, regardless of the outcome of
this dispute. (See Mot. at 16.)
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                                 CERTIFICATE OF SERVICE

        On June 30, 2016 I electronically submitted the foregoing document with the clerk of court
for the U.S. District Court, Northern District of Texas, using the electronic case filing system of the
court. I hereby certify that I have served all counsel of record electronically or by another manner
authorized by Federal Rule of Civil Procedure 5(b)(2).



                                      Counsel for Plaintiff/Counterclaim Defendant
